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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                8:17CR286
                                           )
      vs.                                  )
                                           )
Dora Maria Ortiz-Torres, Marcos            )                  ORDER
Monzon-Rivas, Juan Vega-Diaz,              )
Jesus Francisco Monzon-Moreno,             )
Matian Alfonso Ceballos-Aguirre,           )
Fidel Giovanni Avila-Monzon, Ana           )
Karla Rodriguez-Torrez, Leonides           )
Carreno, John F. Haller, III, Brijido      )
Beltran-Rodelo,                            )
                                           )
                    Defendants.

       This matter is before the Court on Defendant Ana K. Rodriguez-Torrez’s
Unopposed Motion to Continue Trial [156]. Counsel and the government need more
time to prepare the case which has previously been designated as complex [106]. For
good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [156] is granted, as follows:

      1. The jury trial, for all defendants, now set for April 30, 2018, is continued to
         June 4, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and June 4, 2018, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(ii).

      DATED: March 27, 2018.

                                               BY THE COURT:

                                               s/ Michael D. Nelson
                                               United States Magistrate Judge
